

Al Aabdy v 281 St Nicholas Partners LLC (2021 NY Slip Op 02057)





Al Aabdy v 281 St Nicholas Partners LLC


2021 NY Slip Op 02057


Decided on April 01, 2021


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: April 01, 2021

Before: Acosta, P.J., Kapnick, Webber, Kennedy, JJ. 


Index No. 23871/16E, 43269/16E Appeal No. 13473 Case No. 2020-04689 

[*1]Baligh Al Aabdy, Plaintiff-Respondent,
v281 St Nicholas Partners LLC et al., Defendants-Appellants. [And a Third-Party Action.]


Gannon, Rosenfarb &amp; Drossman, New York (Lisa L. Gokhulsingh of counsel), for appellants.
The Law Office of Dino J. Domina, Garden City (Lisa M. Comeau of counsel), for respondent.



Order, Supreme Court, Bronx County (Donna M. Mills, J.), entered October 13, 2020, which, to the extent appealed from as limited by the briefs, denied defendants' motion for summary judgment dismissing the complaint, unanimously affirmed, without costs.
In opposition to defendants' prima facie showing that, as an out-of-possession landlord and its owner, they are not liable for the injuries plaintiff sustained while descending a staircase on their premises, plaintiff's expert opinion raised an issue of fact as to whether the absence of handrails on the staircase violated a specific statutory provision of the applicable Building Code, for which defendants may be held liable (see Guzman v Haven Plaza Hous. Dev. Fund Co., 69 NY2d 559, 565 [1987]; Nameny v East N.Y. Sav. Bank, 267 AD2d 108 [1st Dept 1999]). Plaintiff also raised an issue of fact as to whether the absence of a handrail was a proximate cause of his fall by submitting his testimony that as he slipped on the third step he tried to grab hold of something to prevent his fall and there was nothing there (see Gil v Margis Realty LLC, 183 AD3d 547 [1st Dept 2020]; Gold v 35 E. Assoc. LLC, 136 AD3d 453 [1st Dept 2016]).
THIS CONSTITUTES THE DECISION AND ORDER OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: April 1, 2021








